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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

   ALFRED ZAKLIT AND JESSY                  Case No.: 5:15-cv-02190-CAS-KK
   ZAKLIT, individually and on behalf
   of all others similarly situated,
                                            JOINT 26(F) REPORT
   Plaintiffs,
                                            (F.R.C.P. 23 AND L.R. 23-3)
          vs.
   NATIONSTAR MORTGAGE LLC
   and DOES 1 through 10, inclusive,
   and each of them,
   Defendants
       Pursuant to Rule 26(f) and the Court’s Order Setting Scheduling Conference,

  Plaintiffs, Jessy Zaklit and Alfred Zaklit (“Plaintiffs”) and Defendant,

  NATIONSTAR MORTGAGE LLC (“Defendant”), hereby submit their Joint Rule

  26(f) Conference Report after having met and conferred on the issues contemplated

  in Rule 26(f) and the Court’s Order.

         a.      Statement of the Case

         This is a putative national class action in which Plaintiffs claim Defendant
  violated California Penal Code § 632, which prohibits one party to a telephone call
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  from intentionally recording the conversation without the knowledge or consent of
  the other. Penal Code § 632 is violated the moment the recording is made without
  the consent of all parties thereto, regardless of whether it is subsequently disclosed.
  The only intent required by Penal Code § 632 is that the act of recording itself be
  done intentionally. There is no requisite intent on behalf of the party doing the
  surreptitious recording to break California or any other law, or to invade the privacy
  right of any other person. Plaintiffs allege that Defendant violated and continues to
  violate Penal Code § 632 by impermissibly recording, monitoring, and/or
  eavesdropping upon its telephone conversations with California residents.
          California Penal Code § 632.7 prohibits one party to a telephone call from
  intentionally recording the conversation without the knowledge or consent of the
  other while the person being recorded is on a cellular telephone. Penal Code § 632.7
  is violated the moment the recording is made without the consent of all parties
  thereto, regardless of whether it is subsequently disclosed. The only intent required
  by Penal Code § 632 is that the act of recording itself be done intentionally. There is
  no requirement under California Penal Code § 632.7 that the communication be
  confidential. Plaintiff alleges that Defendants continue to violate Penal Code § 632.7
  by impermissibly recording its telephone conversations with California residents
  while said residents are on cellular telephones.
         Defendant:
         Plaintiffs allege that Defendant violated Penal Code §§ 632 and 632.7 by
  recording conversations with its customers without their consent. Defendant denies
  that it violated Penal Code §632 and 632.7. Defendant further denies that Plaintiffs’
  claims are suitable for class treatment.
        b.     Subject Matter Jurisdiction

         Plaintiffs allege the Court has jurisdiction under 28 U.S.C. § 1332(d), the

  Class Action Fairness Act.
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         c.      Legal Issues

         Plaintiffs: Legal issues include: a) whether the calls to Plaintiff and putative

  class members were recorded in violation of California Penal code statutes, without

  the parties’ consent.

         Defendant: Legal issues include (1) whether or not Nationstar recorded its

  telephone conversations with Plaintiffs without their consent; and (2) whether or

  not Plaintiffs’ claims are suitable for class certification. Defendant contends that

  class certification is not appropriate in this case as individualized issues will

  predominate, such as whether or not Nationstar informed each individual customer

  that his or her telephone calls may be recorded, whether or not Nationstar obtained

  consent from individual borrowers to record their telephone conversations with

  Nationstar, whether or not any borrower had a reasonable expectation of privacy at

  the time of recording, and whether or not it is possible to determine if a call was

  made to or from a cellular phone or landline.

         d.      Parties, Evidence, etc.:

         Plaintiffs: Parties include Plaintiffs Jessy Zaklit and Alfred Zaklit and

  Defendant Nationstar Mortgage LLC. Percipient witnesses include Plaintiffs and

  Defendant’s corporate representative(s). Key documents include: Defendant’s

  records relating to Plaintiff’s accounts and calls to Plaintiff; Defendant’s manuals

  and policies regarding telephonic communication with Plaintiff and other clients;

  Plaintiff’s records concerning their communications with Defendant and alleged
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  damages.

         Defendants:

     1. Witnesses: Defendant identifies the following witnesses with relevant
         knowledge: (1) person most knowledgeable at Nationstar to testify about
         Defendant’s policies and procedures for informing borrowers that their calls
         with Nationstar may be recorded and obtaining consent for the recording of
         such calls; (2) Plaintiffs; and (3) other witnesses that may become relevant
         as discovery progresses.
     2. Documents: Defendant intends to on rely upon Plaintiffs’ account documents
         and loan file, Defendant’s policies and procedures relating to informing
         borrowers that their calls with Nationstar may be recorded; Defendant’s
         policies and procedures for obtaining consent for the recording of such calls;
         and other documents that may become relevant as discovery proceeds.
         e.    Damages

         Plaintiffs: Plaintiff seeks, on behalf of himself and the putative class,

  statutory damages of statutory damages of $5,000 per violation pursuant to Penal

  Code § 637.2(a) for Plaintiff and each member of the Class; for $2,500 per violation

  of California Penal Code § 632.7 for Plaintiff and each member of the Class; for

  attorney’s fees and costs, pursuant to Cal. Code of Civ. Proc. § 1021.5; and for

  injunctive relief.

         Defendant: Defendant is not claiming any damages at this time. Defendant

  denies that Plaintiffs are entitled to any damages.

         f.      Insurance

         Neither party is aware of any insurance policy that would be applicable to
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  this matter at this time.

         g.      Motions

         Plaintiffs: Plaintiff does not anticipate any motions to add claims or parties,

  amend the pleadings or transfer venue. Defendant: Defendant may consider filing

  a motion for summary judgment in response to Plaintiffs’ claims depending on the

  information obtained through discovery.

         h.      Manual for Complex Litigation

       Plaintiffs:       Procedures relating to management of class actions may be

  applicable.

       Defendant:         Defendant contends that reference to the Manual Complex

  Litigation may be appropriate in this case because Plaintiffs have alleged their

  claims on behalf of themselves and a state-wide class.

         i.      Status of Discovery

         Neither party has commenced discovery in this action.

         j.      Discovery Plan

         i.      Initial Disclosures And Changes In Timing Or Form [FRCP

  26(f)(3)(A)]

         The Parties do not contemplate that any changes will be necessary at this time

  regarding the timing, form, or requirement for disclosures under FRCP 26(a) or the

  local rules.

                 ii.      Subjects Of Discovery [FRCP 26 (f)(3)(B)]
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         Plaintiff:

         Plaintiff’s written discovery will consist of interrogatories, requests for

  production, and requests for admissions. Plaintiff needs discovery on the following

  subjects: Defendant’s policies and procedures for contacting debtors in regards to

  time-barred debts, including debt collection letters; Defendant’s policies and

  procedures on recording telephone calls; any recordings of any calls with Plaintiff

  and putative class members. Plaintiff also intends to depose the Defendant’s PMK.

         Defendant:

         Defendant contends that discovery at this time should be limited to only the

  claims of the named class representatives and issues related to whether the case can

  be certified. Defendant objects to the production of any information, including ESI,

  regarding the claims of unnamed class members at any time prior to certification.

  The records needed to identify whether or not each individual putative class

  member was notified that his or her calls with Nationstar may be recorded and to

  determine whether or not he or she consented to the recording include all origination

  materials, demographic information, and account notes for all relevant accounts.

  This is highly confidential financial information regarding consumers that is

  maintained by Defendant under strict security protocols. The needs of this case do

  not justify such an intrusive production and the fact that an individual review of

  consumer records is necessary to ascertain class membership underscores the

  inappropriateness of Plaintiffs’ class definition. Consistent with the overwhelming
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  weight of federal practice – and the federal complex litigation manual’s edict on the

  issue 1 – class merits discovery should be bifurcated in this case. Defendant

  proposes that discovery be phased in the following manner:

           Phase One: Fact discovery as to the merits of the named Plaintiffs’ claims

  and class certification discovery on the factors set forth in Rules 23(a)(1), 23(a)(2),

  23(a)(3), 23(a)(4), 23(b)(2), 23(b)(3), 23(c)(4).

           Phase Two: Additional discovery regarding the claims of individual class

  members.         Phase Two includes: i) information regarding the names of class

  members; ii) information regarding disclosures given to each individual customer

  relating to the recording of their calls with Nationstar and; iii) the specific

  documents that Defendant may contend reflect the borrowers’ prior consent to have

  their telephone calls with Nationstar recorded. Phase One includes everything else,

  including: i) Defendant’s policies and procedures; (ii) evidence regarding Plaintiffs’

  individual claims, etc.             Defendant contends that the parties should enter an

  agreement to use only Phase One discovery in connection with Plaintiff’s motion

  for class certification.

                    iii.     Electronically           Stored        Information            (“ESI”)         [FRCP

  26(f)(3)(C)]



  1
    The Federal Manual for Complex Litigation establishes a plain preference for bifurcation, recognizing:
  “[d]iscovery relevant only to the merits delays the certification decision and may ultimately be unnecessary.” (Fed.
  Judicial Center, Manual for Complex Litig. – 4th ed. (2011) § 21.14.) Indeed, in “cases that are unlikely to
  continue if not certified, discovery into aspects of the merits unrelated to certification delays the certification
  decision and can create extraordinary and unnecessary expense and burden.” (Ibid.)
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          The parties will meet and confer with plaintiffs to the extent any issues arise

  regarding ESI. Defendant does not believe that email searches are appropriate given

  the allegations in this case and in light of defendant’s suggested phasing of

  discovery as outlined above. Defendant will meet and confer with plaintiffs to the

  extent any issues arise regarding ESI.

                 iv.     Privilege or Protective Orders [FRCP 26(f)(3)(D)]

          Defendant reserves the right to seek entry of a protective order under Fed. R.

  Civ. P. 26(c).

                 v.      Limitations on Discovery [FRCP 26(f)(3)(E)]

          The Parties agree that the standard limitations in the federal and local rules

  should govern discovery in this case.

                 vi.     Any Other Orders [FRCP 26(f)(3)(F)]

          The Parties do not contemplate other orders at this time.

          k.     Discovery Cut-off

          The parties propose a non-expert discovery cut-off date of November 4,

  2016.

          l.     Expert Discovery

          Plaintiffs: Plaintiffs propose July 15, 2016 as the initial expert disclosure

  deadline, August 15, 2016 as the rebuttal expert disclosure deadline, and November

  1, 2016 as the expert discovery cut-off date.

          Defendant: Defendant proposes that the deadline to disclose initial expert
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  witnesses be set for one month after Plaintiffs’ motion for class certification is

  adjudicated. Defendant proposes that the deadline to disclose rebuttal expert

  witnesses be set for two months after Plaintiffs’ motion for class certification is

  adjudicated.

         m.      Dispositive Motions

         Plaintiffs: At this time, Plaintiffs do not anticipate filing any dispositive

  motions but reserve the right to do so if discovery reveals the basis for such a

  motion.

         Defendant: Defendant may file a motion for summary judgment on the

  claims alleged in the Complaint, but such motion would be filed only after the

  question of class certification is determined. Under the rule against one-way

  intervention, plaintiffs may not file a dispositive motion over defendant’s objection

  until a ruling on class certification is made and, if a is certified, notice is mailed and

  the deadline to request exclusion expires. Therefore, defendant proposes that the

  court defer setting any deadline to file dispositive motions until after the court

  determines whether or not to certify a class in the action.

         m.      Settlement/Alternative Dispute Resolution

       The parties are amenable to engaging in private mediation.

         o.      Trial Estimate

         Plaintiffs estimate a trial of 3-4 days. Plaintiffs request a jury trial.

         Defendant believe it is premature at this stage to estimate the length of trial
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  until the court determines whether or not to certify a class in this case. Defendant

  requests that the court postpone setting a trial date until after ruling on plaintiffs’

  motion for class certification. If the court is inclined to set a trial date at this time,

  defendant estimates trial would take 10 days at a minimum if a class were certified.

         p.      Trial Counsel

         Plaintiff will be represented by Todd M. Friedman at trial. Defendant will be

  represented by Severson & Werson at trial.

         q.      Independent Expert or Master

         The parties do not anticipate the need for appointment of an independent

  expert or master in this matter.

         r.      Deadline to Add Additional Parties

         Neither party anticipates adding any additional parties at this time. The

  parties propose a deadline of March 31, 2016 for joinder of additional parties.

         18.     Other Issues – Class Certification Motion

         Plaintiff requests that this Court set the deadline for Plaintiffs to file their

  Class Certification motion at this scheduling conference. Plaintiff proposes October

  17, 2016 as a deadline to do so.




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  Dated: February 18, 2016               Respectfully submitted,

                                LAW OFFICES OF TODD M. FRIEDMAN, P.C.

                                                 By: ___s/Todd M. Friedman
                                                 Todd M. Friedman, Esq.
                                                 Attorney for Plaintiff




                                                 SEVERSON & WERSON

                                                 By__/s/ Mary Kate Kamka____
                                                      Mary Kate Kamka
                                                      Attorneys for Defendant




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                           SIGNATURE CERTIFICATION

         Pursuant to Section 2(f)(4) of the Electronic Filing Administrative Policies

  and Procedures Manual, I hereby certify that the content of this document is

  acceptable to counsel for Defendants, and that I have obtained his/her authorization

  to affix his/her electronic signature to this document.


  Dated: February 18, 2016                Respectfully submitted,

                                          Law Offices of Todd M. Friedman, P.C.

                                           By: s/Todd M. Friedman
                                             Todd M. Friedman, Esq.
                                             Attorney for Plaintiff




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